Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 1 of 12




                                                        UNITED STATES DISTRICT
                                                        COURT SOUTHERN DISTRICT OF
                                                        FLORIDA

                                                        MIAMI DIVISION

                                                        Case No.: 1:18-CV-24100-COOKE/
                                                        GOODMAN

   DIGNA VINAS,

          Plaintiff,

   vs.

   THE INDEPENDENT ORDER
   OF FORESTERS,

         Defendant.
   ______________________________/

        PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF
        MATERIAL FACTS AND ADDITIONAL FACTS IN SUPPORT OF
     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY
                             JUDGMENT
                    STATEMENT OF MATERIAL FACTS1

                                 Procurement of the Certificate
          1.      Disputed.   R. Foresters provides no evidentiary support for its proposed
   undisputed fact. Further, the e-signed document itself gives no indication who completed
   either the form or the overflow portions. The evidence has established Jazmin Lightbourn,
   Foresters’ sales agent, completed at least some parts of the application. (Ex. A, October 16,
   2020 Deposition of Digna Vinas (“Vinas Depo”), at 44-45; see also Ex. B, Supplemental
   Diabetes Questionnaire, at 2 (referring to Mr. Vinas not in first person, but as “proposed
   insured”)).

          1
             As Vinas has advised the Court previously, Foresters has continued to litigate the
   liability portions of the Breach of Contract matter despite its having admitted its breach and
   confessed judgment. (D.E. 173, at 19-22). As such, a large number of facts set forth by
   Foresters are simply irrelevant to the remaining fraud liability issues and breach of contract
   causation/damages issue. Vinas will indicate this by including an (“R”) after designated
   irrelevant assertions.
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 2 of 12




          2.     Disputed as phrased with respect to “aimed at ascertaining” and with respect
   to materiality. R. In fact, Foresters’ Corporate Representative (“CR”) testified Mr. Vinas’
   medical records did not reveal a condition or issue that was material to issuance of the policy
   and yet, Foresters denied the claim wrongfully asserting “material information” was
   withheld. (Ex. C, March 4, 2020 Deposition of David Sullivan (“Sullivan Depo”), 226-231,
   400-02).
          3.     Undisputed. R.
          4.     Undisputed with the understanding Mr. Vinas also then expressly advised
   Foresters that in response to misinformation (apparently from an inaccurate Medical
   Information Bureau data base), his doctor told him he did not have diabetes. (Ex. D,
   “Underwriting Materials, at 9; Ex. C, diabetes questionnaire, at 2). R.
          5.     Undisputed, to the extent Foresters refers to signing the Application when it
   uses the word “declared.”
          6.     Undisputed, to the extent Foresters refers to signing the Application when it
   uses the word “declared.”
          7.     Undisputed, to the extent Foresters refers to signing the Application when it
   uses the word “certified.”
          8.     Disputed. R. Foresters has produced no evidentiary support for its suggestions
   that the reason he was asked to complete a diabetes questionnaire was any MIB hit. The
   word “Accordingly” implies a causal connection where none is demonstrated. Undisputed
   that Foresters through its sales agent Jazmin Lightbourn requested a Diabetes Questionnaire
   to be completed.
          9.     Undisputed. R.
          10.    Disputed that Mr. Vinas responded. The sales agent appears to have completed
   the “additional information” section of the questionnaire. (Ex. B, at 2 (referring to Mr. Vinas
   not in first person, but as “proposed insured”); Ex. B, at 44-45).
          11.    Undisputed.
          12.    Disputed. R. First, Foresters provides no evidentiary quality support for its
   proposed Undisputed fact. The Diabetes Questionnaire (which is not explicitly referenced at
   Foresters’ citation), does not contradict the MIB error, it explains it and advises that Mr.
   Vinas’ doctor told him he did not have diabetes. (Ex. B, at 2).

                                                      2
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 3 of 12




          13.      Disputed.     R. Foresters provides no evidentiary support for its proposed
   Undisputed fact. It is further disputed that the MIB hit was the reason Foresters sent any
   letter. As the notes at Foresters’ citation reveal, Mr. Vinas had already contacted Foresters
   advising that he had checked with his doctor and he did not have diabetes.
          14.      Undisputed that Mr. Vinas provided a letter to Foresters through its sales agent.
   (Ex. A, Vinas Depo, at 42).
          15.      Disputed that the cited portion of the transcript, which reads in relevant part
   that “there is no claims decision made at the time of underwriting whether they have been
   completely truthful . . . with their knowledge and belief, a contestable review will happen and
   a decision will come of that review,” shows that Foresters did not determine Mr. Vinas’ best
   knowledge and belief to its own satisfaction during the initial underwriting process. Disputed
   as legal argument that has no place in a statement of material facts under Local Rule 56.1 to
   the extent Foresters suggests Section 627.404, Florida Statutes, shields it from liability here.
          16.      Undisputed that Foresters approved the application after learning the fact that
   the MIB reference was not accurate and that Mr. Vinas’ doctor advised (and provided a letter
   advising that) he did not have diabetes. (Sullivan Depo, Ex. C, at p. 243 l. 21 – p. 244 l. 1;
   Ex. D, at 2).
          17.      Disputed to the extent Foresters uses the term “owned” to disparage Vinas’
   standing to pursue this claim. Undisputed that the policy designates Vinas as the beneficiary.
   (Ex. E, Certificate).
          18.      Disputed because whether the contestability clause is “consistent with Fla. Stat.
   § 627.255” is an issue of law that has no place in a statement of material facts under Local
   Rule 56.1. Undisputed that the Certificate language is accurately quoted.
          19.      Disputed that the policy uses Foresters’ characterization of “merger clause,” or
   that Foresters’ paraphrasing is an acceptable substitute for the policy language itself, i.e. that
   “No one, including the producer who provided you this certificate, can make a promise or
   representation about the entire contract other than what is described in the entire contract.”
   (Emphasis added).
          20.      Undisputed.
          21.      Disputed as to unsupported speculation about what Foresters might have done.
          22.      Undisputed.

                                                       3
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 4 of 12




                               Plaintiff’s Claim for the Death Benefit
          23.     Undisputed.
          24.     Undisputed.
          25.     Undisputed.
          26.     Undisputed that a lab report was in Dr. Hershman’s medical records. It is
   disputed that Dr. Hershman considered this consistent with diabetes as it is undisputed he
   never advised Mr. Vinas that he had diabetes. R.
          27.     Disputed to the extent “identified these conditions” is meant to imply Dr.
   Hershman diagnosed Mr. Vinas with diabetes. R.
          28.     Disputed. The cited material does not indicate that claims adjudicator Lisa
   Buckland reviewed and evaluated the relevant records for evidence of Mr. Vinas’ best
   knowledge and belief before recommending recission. The exact opposite is true. The
   evidence is undisputed that Foresters’ claims department never “determined that Mr. Vinas
   knew he was being followed for diabetes and secondary complications.” Ms. Buckland
   testified she did not review Mr. Vinas’ claim with an eye towards his best knowledge or belief;
   “it wasn’t a question of what [Mr. Vinas] knew or not, it was what the diagnosis was.” (Ex.
   F, March 4, 2020 Deposition of Lisa Buckland (“Buckland Depo”), at p. 56 lines 9-11). She
   stated that she would nonetheless “do up a recission letter and send it up to management for
   review” without first making a “determination whether the insured knew of the condition.”
   (Id. at p. 20 lines 23-25). Ms. Buckland further stated “The only evidence in [Foresters’] claim
   file . . . was that [Mr. Vinas] was told by his doctor that he did not have diabetes.” (Id. at p.
   35 lines 20-25). For all these reasons, this fact is disputed.
          29.     Disputed that the incontestability underwriter “determined” whether Mr.
   Vinas “accurately answer[ed]” anything. By Foresters’ own admission, accuracy was to be
   determined by evaluating Mr. Vinas’ BK&B. (Ex. G, October 13, 2020 Deposition of Doug
   Parrott (“Parrott Depo”), at 85-86). As advised above it is undisputed that Foresters never
   looked into, much less determined Mr. Vinas’ BK&B, and that the underwriter incorrectly
   concluded that Foresters would have declined coverage. Foresters’ CR testified the policy
   would have been issued anyway. (Ex. C, Sullivan Depo., at 393, 400-01).
          30.     Disputed as phrased. Foresters produced no evidence that the amount of
   premiums paid was $11,448.00. Foresters’ answer is also subject to clarification for

                                                       4
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 5 of 12




   completeness. In the denial letter Foresters took the position that “Mr. Vinas had been
   diagnosed as having Diabetes at the time the application was taken,” and that “his then-
   present diagnosis of Diabetes should have been disclosed at the time the application and
   questionnaire was completed.” (Ex. H, “Denial Letter,” at 2). Foresters did not purport to
   have investigated or determined Mr. Vinas’ best knowledge and belief. (Id.). Foresters also
   incorrectly claimed that “[h]ad accurate and complete information regarding Mr. Vinas’
   health and medical treatment been disclosed at the time the application and questionnaire
   was completed, the certificate would not have been issued as applied for.” (Id.).
          31.     Undisputed. Foresters unequivocally denied Vinas’ claim. (Ex. H, Denial
   letter, D.E. 158-6). Mrs. Vinas filed suit to recover the benefits. Foresters ultimately paid the
   claim and confessed judgment three years after denying Vinas’ claim.
                                                  The Action
          32.     Undisputed.
          33.     Undisputed.
          34.     Disputed and R as to Foresters’ hyperbolic and blatantly false characterization
   that it was “stonewalled at every turn” by “meritless” objections. Foresters did zero discovery
   throughout the first sixteen months of this case. It didn’t depose Dr. Hershman, and did not
   subpoena his records until February 18, 2020. Similarly, it was not until February 5, 2020
   that Foresters sent its first set of discovery to Vinas. It didn’t depose Mrs. Vinas until literally
   the day of fact discovery cutoff, October 16, 2020. (Ex. A, Vinas Depo, at 1; D.E. 92, at 2).
   It didn’t depose Ms. Lightbourn. Further, all of this was AFTER Foresters had supposedly
   done its allegedly full contestability investigation … the investigation that never bothered to
   investigate Mr. Vinas’ BK&B. It is obviously disputed that Vinas’ objections were without
   legal merit. The Court never ruled on the issues because Foresters confessed judgment to
   Count I (Breach of Contract), rendering further discovery moot. (D.E. 69, 71).
          35.     Disputed and R as to continuing inappropriate characterizations of Mrs. Vinas’
   discovery objections as “meritless” and “frivolous.” Disputed that Foresters has shown that
   the charges in Mrs. Vinas’ Civil Remedy Notice (“CRN”) were “without basis;” Foresters
   escaped a ruling on this by confessing judgment on Count I (Breach of Contract).
          36.     Disputed. Foresters suggests that Dr. Hershman’s letter provided information
   that Foresters didn’t already have or couldn’t have obtained on its own through discovery, by

                                                        5
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 6 of 12




   using the medical release authorizations, or from a simple phone call! This is absolutely false
   and is fully addressed in the Response to Foresters’ motion for summary judgment (D.E. 173,
   at 5), which explains Foresters could have obtained through the medical information releases,
   (Ex. C, Sullivan Depo, at p. 38 lines 4-17) and in any event was merely cumulative of the
   letter he submitted five years earlier when Mr. Vinas applied for the policy. (D.E. 127-4, at 2)
   (Ex. I, 2015 Hershman letter). Disputed that Dr. Hershman’s medical records indicate that
   Mr. Vinas “had diabetes and secondary complications.” Disputed that the text of Dr.
   Hershman’s 2020 letter indicates that he thought his medical records show that he
   “diagnose[d] Mr. Vinas with diabetes or any complications of diabetes,” or that he ever told
   Mr. Vinas he had diabetes. (D.E. 155-16; Ex. J (2020 Hershman Letter)).
           37.   Disputed. Foresters’ characterization that interest on the death benefit was paid
   “to compensate Plaintiff for any damages she may have experienced between her loss and the
   settlement” is incorrect. Interest compensates for the time value of money, not any other
   damages. Wiand v. Lee, 753 F.3d 1194, 1205 (11th Cir. 2014). R.
           38.   Undisputed. R.
           39.   Undisputed, but irrelevant because Vinas brings no bad faith claim. R.
           40.   Disputed. On March 16, 2020, immediately upon returning from the initial
   depositions of Foresters’ CRs in Toronto that provided the initial evidence of Foresters’ fraud,
   Vinas filed a Motion for Leave to File a Second Amended Complaint raising Count III (Fraud
   in the Inducement). (D.E. 55). Count III does not raise or include any claim for bad faith.
   Foresters strenuously opposed the amendment, including prolonging the briefing process by
   seeking a sur-reply after mistakenly invoking a products liability doctrine, the economic tort
   rule.   The Court granted the Motion, and the Second Amended Complaint was filed on
   August 4, 2020. (D.E. 87 (July 16, 2020 Sur-Reply); D.E. 90 (July 23, 2020 Order Granting
   Leave to File)).
           41.   Disputed that a statement of material fact is an appropriate vehicle to re-argue
   Foresters’ motion to dismiss. Disputed that the operative complaint is a shotgun pleading.
   Disputed that there is any vicarious liability count against Foresters, who is not alleged to be
   merely technically liable with no fault of its own. On these facts, Lightbourn was authorized
   to make accurate representations about the Foresters’ products she sold.



                                                      6
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 7 of 12




                                       ADDITIONAL FACTS
           Plaintiff again, must point out the overwhelming majority of the facts cited by
   Foresters are completely irrelevant to the issues to be determined in this fraud in the
   inducement action (separate and apart from being inaccurate and misleading).             Plaintiff,
   however, cannot stop Foresters from submitting these irrelevant facts to the Court. As such,
   Plaintiff is compelled to submit the following (mostly irrelevant) facts that either correct the
   record or present a complete picture of the irrelevant issue.
           1.       Foresters’ entire sales force is composed of nonemployee sales agents to whom
   it supplies promotional materials, applications, field underwriting guides, and other forms
   and materials. (Parrott Depo, Ex. G, at 39-40, 92-93).
           2.       Foresters does not want its customers to know that its “independent agents”
   are anything other than a representative of Foresters. The “insured is not expected to
   distinguish between whether that person is technically employed by an intermediate agency,”
   and “that’s the way Foresters wants it.” (See Parrot Depo, Ex. G, at p. 92, l. 13 – p. 93, l. 4 )
        3. The late Rigoberto Vinas (Mr. Vinas) mortgaged his home in 2015. (Ex. A, Vinas
   Depo at 29). The mortgage company recommended mortgage life insurance, and gave him
   the names of a few companies, including Foresters. (Id. at 29, 31-32). Mr. Vinas contacted
   Foresters.
           4.       Sales agent Jazmin Lightbourn contacted the Vinases in response to their
   inquiry. (Ex. A, Vinas Depo, at p. 35, lines 13-15; p. 115, lines 1-5).
           5.       As far as Mrs. Vinas was concerned, “Jazmin was Foresters. As far as we were
   concerned, when we talked to Jazmin, we were talking to Foresters. . .” (Vinas Depo, Ex. A,
   at p. 114 l. 1-3). “As far as we were concerned, she belonged to Foresters. That’s it.” (Id. at
   p. 57 l. 7-8).
           6.       Foresters’ own file materials identify Jazmin Lightbourn as an “agent” in
   numerous places. (Ex. K, Production File, at pp. 18,19, 52, 153, 154, 159 and 160).
           7.       Ms. Lightbourn was authorized to make truthful representations, such as telling
   Mr. and Mrs. Vinas when they asked what would happen if he died within two years that “as
   long as they tell the truth, 100 percent the truth as they know it, that Foresters will not rescind
   the policy based upon a contestable claims procedure.” (Parrot Depo, Ex. G, at p. 55 l. 25-p.
   56 l. 3).

                                                       7
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 8 of 12




          8.       Initially, the Vinases planned to purchase a supplemental mortgage life
   insurance policy with limits equal to the amount of the mortgage: $42,000. (Ex. A, Vinas
   Depo, at 33).
          9.       The sales agent informed them that, unlike their existing $100,000 policy,
   Foresters offered a product that did not raise his premiums at age 80. (Id.; see Ex. L,
   “Application”, at 11). The Foresters’ monthly premium was “a lot more” than the $229
   premium that American General charged. (Id. at 34; Ex. L, at 7 ($477)).
          10.      Mr. and Mrs. Vinas asked the sales agent about losing benefits if Mr. Vinas died
   during the two-year contestability period. (Vinas Depo, Ex. A, at 99). She told them that
   Foresters would not rescind the policy for a misrepresentation “as long as you put the truth
   . . . . The only thing, you might have to give more documents, or they might investigate you
   deeper.” (Id. at p. 99 l. 16-19).
          11.      At Foresters, the sales and marketing departments have no actual knowledge
   of how the claims and underwriting departments address the “best knowledge and belief”
   requirement in the Application. (Parrott Depo, Ex. G, at 35-36, 63-64, 96).
          12.      Foresters’ sales department does not train sales agents on how Foresters applies
   the best knowledge and belief clause. (Id. at 64-65).
          13.      Mr. and Mrs. Vinas came to the joint decision to switch to Foresters and cancel
   their existing insurance. (Vinas Depo, Ex. A, at 48 (explaining that “we got to the decision . . .
   that we were going to cancel” their existing insurance)).
          14.      Foresters’ New Business + Underwriting notes indicate that after the MIB hit,
   the sales agent investigated and then “called in to advise PLI [Mr. Vinas] does not have
   diabetes.” (Ex. D, at 1). He had “completed an exam for insurance in 2012 when the
   examiner advised [him] that he has diabetes.” (Id.). Mr. Vinas “went to see Dr and was
   advised that[sic] does not suffer from Diabetes.” (Id.). Accordingly, he “maintains no to Q
   25H [sic] and 3.” (Id.).
          15.      The sales agent was advised to “re-ask question 24H on the application and
   have him complete the Diabetes Questionnaire.” (Id.).
          16.      Mr. Vinas obtained a note from his doctor Kenneth Hershman dated January
   22, 2015, advising that Mr. Vinas was “in good health and [was]s not taking any medication



                                                       8
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 9 of 12




   for diabetes or on a diabetic diet” and also explained that he’d been Mr. Vinas’ doctor for
   fifteen years. (Ex. I).
          17.        The letter was provided to the sales agent, who faxed the letter to the
   underwriting department on January 22, 2015. (Ex. I, at 1).
          18.        Foresters issued Mr. Vinas a policy with full knowledge of Dr. Hershman’s
   letter that Foresters interpreted as indicating Mr. Vinas did not have diabetes. (Ex. I; Sullivan
   Depo, Ex. C, at 236).
          19.        The underwriter determined that the record indicated Mr. Vinas did not have
   diabetes. (Ex. D, at 2; see also Sullivan Depo, Ex. C, at p. 243 l. 21 – p. 244 l. 1).
          20.        Moreover, even if Mr. Vinas had diabetes in 2010 as the MIB hit indicated,
   “even longer duration dm hx [i.e, an even longer history of diabetes melitus] is maybe +50”
   risk rating points. (Id.).
          21.        The result was still “under the +100 buffer” for this product, so the policy was
   issued. (Id.).2
          22.        After Mr. Vinas’s death from a heart attack on January 11, 2017, the sales agent
   sent the claim forms to the claims department. (Ex. M, January 16, 2017 letter to Jazmin
   Lightbourn, at 1). The forms included an “Authorization for disclosure of medical and health-
   related information.” (Id. at 3).
          23.        Foresters automatically contested the certificate because he died within the
   contestability period and his policy did not require payment of interest upon recission, merely
   return of premiums. (Sullivan Depo, Ex. C, at 260).
          24.        Claims Adjudicator Lisa Buckland acknowledged that “The only evidence in
   [Foresters’] claim file . . . was that [Mr. Vinas] was told by his doctor that he did not have
   diabetes.” (Buckland Depo, Ex. F, at p. 35 l. 20-25).
          25.        Ms. Buckland did not review the claim with an eye towards Mr. Vinas’ best
   knowledge or belief; “it wasn’t a question of what [Mr. Vinas] knew or not, it was what the
   diagnosis was.” (Id. at p. 56 l. 9-11).
          26.        It also was not part of the “normal process” to review the file for indications of
   an insured’s best knowledge and belief. (Id. at p. 53 l. 13-24).

          2
            Vinas will seek to file under seal a copy of the underwriting guidelines Foresters uses
   for diabetes and diabetic conditions.
                                                         9
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 10 of 12




            27.    Similarly, calling a doctor to determine the insured’s best knowledge and belief
    would not be a normal part of Foresters’ investigation process. (Sullivan Depo, Ex. C, at
    290).
            28.    CR Doug Parrot testified that if he were to discover that the claims department
    had not tried to determine Mr. Vinas’ best knowledge and belief, he would “have a problem
    with that,” because Foresters’ “standard for accuracy” during the contestability claim is “the
    insured’s best knowledge and belief, whether they are telling the truth or not.” (Parrott Depo,
    Ex. G, at p. 85, l. 5-p. 86, l. 23). Processing claims under different terms than the policy was
    sold would be selling the policy “under, let’s say, false pretenses or with a representation that
    wasn't true … [it] would not be in line with who we are” as a company. (Id., at p. 86, l. 2 – l.
    23).
            29.    Ms. Buckland admitted that she usually “would do up a recission letter and
    send it up to management for review” anytime an application question seemed incorrect,
    without first making a “determination whether the insured knew of the condition.” (Buckland
    Depo, Ex. F, at p. 20 l. 17-25).
            30.    It was Ms. Buckland’s job to forward all relevant information to the
    underwriting department during the contestability review, so that underwriting could
    determine whether any error was material, i.e. whether the policy would nevertheless have
    issued. (Id. at 38-39).
            31.    Nevertheless, when she wrote her summary for review by the underwriting
    department, she did not mention that the file contained Dr. Hershman’s letter and Mr. Vinas’
    two statements regarding the reason for the false MIB hit. (Id.; see also Ex. N, “Underwriting
    Opinion,” at 2).
            32.    Instead, she merely noted portions of Mr. Vinas’ records both before and after
    the Application included an “assessment” of diabetes based on the use of International
    Classification of Diseases (“ICD”) billing codes. (Buckland Depo., Ex. F, D.E. 79-1, at 24-
    26, 42-43; Ex. N, at 1-2).
            33.    CR David Sullivan testified that based upon facts already in Foresters’ file in
    2017, Mr. Vinas’ best knowledge and belief (“BK&B”) was that he did not have diabetes and
    that the claim should not have been denied. (Sullivan Depo, Ex. C, at p, 122 l. 25- p. 23 l. 20;
    p. 140 l.22-p. 144 l. 25; p. 197 l. 17-22; p. 299 l. 7-p. 300 l.3; p. 345 l. 20-23).

                                                         10
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 11 of 12




           34.    Foresters’ underwriting department wrote that “Had we been aware of the
    Applicant’s history of diabetes complicated by disorders of the circulatory system and the
    kidneys we would have declined to issue coverage.” (Ex. N, at 2).
           35.    Mr. Sullivan further testified that nothing in Mr. Vinas’ medical records was
    material to Foresters’ assumption of the risk. (Sullivan Depo, Ex. C, p. 400, l. 19-p. 401, l.
    11). Even if Foresters had obtained the documents during the underwriting period, the
    underwriting guidelines directed that the certificate should issue anyway because a 73-year-
    old man with diabetes and peripheral sensory neuropathy was within the 100-point buffer.
    (Id. at 393 (no indication of autonomic neuropathy), 400-02, 41).
           36.    Until his deposition March 4, 2020, Mr. Sullivan had never gone through the
    process of rating Mr. Vinas’ Application to determine whether it should have issued.
    (Sullivan Depo., Ex. C, D.E. 79-2, at 407). On April 3, 2020, Foresters agreed to tender the
    death benefit with interest and conceded Ms. Vinas was entitled to attorney fees. (D.E. 69).
           37.    Before Foresters confessed judgment and paid the death benefit with interest
    shortly after the Sullivan deposition, Mrs. Vinas cashed in her own life insurance, and also
    sold jewelry (including wedding bands) to ensure that her mortgage payment was covered.
    (Vinas Depo, Ex. A, D.E. 127-14, at 14; Ex. O, “Amended List of Consequential Damages”)).
    The face value of her policy was $100,000; she cashed it in for $8,106.40. (Id. at 21-22).
           38.    Bank of America demanded payment of $11,810.37 (Ex. P, “Consequential
    Damages Materials,” at 1) because she could not repay a short-term loan for $10,400. (Vinas
    Depo, Ex. A at 12-13).
           39.    Foresters understands that additional expenses arising from unpaid bills,
    foreclosures, and attorney fees are all natural and reasonably expected consequences of not
    having life insurance benefits available after a spouse’s death. (Sullivan Depo., Ex, C, 404-
    06).
                                      CERTIFICATE OF SERVICE
           I HEREBY CERTIFY a true and correct copy of was filed with the Clerk of this Court
    via the CM/ECF filing and that a copy has been sent via electronic mail this 19th day of
    February to Kristina B. Pett, Esq. Kristina.pett@mhllp.com and Danielle Shure, Esq.,




                                                     11
Case 1:18-cv-24100-MGC Document 172 Entered on FLSD Docket 02/19/2021 Page 12 of 12




    Danielle.shure@mhllp.com, McDowell, Hetherington, LLP, 2101 N.W. Corporate Blvd.,
    Suite 316, Boca Raton, FL 33431.

                                               KRAMER, GREEN, ZUCKERMAN,
                                               GREENE & BUCHSBAUM, P.A.
                                               Co-Counsel for Plaintiff
                                               4000 Hollywood Blvd., Suite 485-S
                                               Hollywood, FL 33021
                                               (954) 966-2112 – phone
                                               (954) 981-1605 - fax

                                               By:   ____/s/ Craig M. Greene
                                                     Craig M. Greene, Esq.
                                                     Fla. Bar No. 618421
                                                     cgreene@kramergreen.com

                                                     and




                                               Adrian Neiman Arkin, Esq.
                                               MINTZ, TRUPPMAN, P.A.
                                               Co-Counsel for Plaintiff
                                               1700 Sans Souci Boulevard
                                               North Miami, FL 33181
                                               (305) 893-5506 – phone
                                               adrianarkin@mintztruppman.com




                                              12
